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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
       vs.                                        )
                                                  )                     8:07CR19
MARIO RAMIREZ-GARCIA,                             )
FRANCISCO HERNANDEZ,                              )                      ORDER
STEVEN PALMATEER,                                 )
JOSE FLOREZ-VILLEGAS and                          )
MARIANO SICIAROS-QUINTARO,                        )
                                                  )
                       Defendants.                )


       This matter is before the court on the unopposed motion of Mariano Siciaros-Quintaro to
continue the trial currently set for April 24, 2007. Defendant has filed a waiver of speedy trial. For
good cause shown, I find that trial should be continued to May 22, 2007.

       IT IS ORDERED that the Motion to Continue Trial [62] is granted, as follows:

        1. The above-entitled case is scheduled for a jury trial before the Honorable Laurie Smith
Camp, District Court Judge, to begin Tuesday, May 22, 2007 at 9:00 a.m. in Courtroom No. 2, Third
Floor, Roman L. Hruska United States Courthouse, 111 South 18th Plaza, Omaha, Nebraska;
because this is a criminal case, defendant(s) must be present in person. Counsel will receive more
specific information regarding the order of trial from Judge Smith Camp’s staff.

       2. Counsel for the United States shall confer with defense counsel and, no later than May
14, 2007, advise the court of the anticipated length of trial.

        3. In accordance with 18 U.S.C. § 3161(h)(A), I find that the ends of justice will be served
by granting such motion and outweigh the interests of the public and the defendant in a speedy trial.
The additional time arising as a result of the granting of the motion, i.e., the time between April 24,
2007 and May 22, 2007, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act, 18 U.S.C. § 3161 because counsel require more time to
effectively prepare the case, taking into account the exercise of due diligence. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

       4. This order applies to all defendants.

       DATED April 13, 2007.

                                               BY THE COURT:

                                               s/ F.A. Gossett
                                               United States Magistrate Judge
